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 4
     Attorney for Defendant
 5   Jeremy Michael Head
 6
 7
                         IN THE UNITED STATES DISTRICT COURT
 8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
11
     UNITED STATES OF AMERICA,       ) CR. NO. 08-0093 FCD
12                                   )
                    Plaintiff,       )       WAIVER OF
13                                   ) DEFENDANT’S PRESENCE
          v.                         )
14                                   )
     JEREMY MICHAEL HEAD,            )
15                                   )
                    Defendant.       )
16                                   )
     _______________________________ )
17
18        Defendant, JEREMY MICHAEL HEAD, hereby waives the right to be in
19   person in open court upon the hearing of any motion or to his
20   proceeding in this cause, including, but not limited to, when the case
21   is ordered set for trial, when continuance is ordered, and when any
22   other action is taken by the court before or after trial, except upon
23   arraignment, plea, impanelment of jury and imposition of sentence.
24   Defendant hereby requests the court to proceed during every absence of
25   which the court may permit pursuant to this waiver; agrees that his
26   interest will be deemed represented at all times by the presence of his
27   attorney, the same as if defendant were personally present; and further
28   agrees to be present in person in court ready for trial any day and
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 1   hour the court may fix in his absence.
 2        Defendant further acknowledges that he has been informed of his
 3   rights under Title 18 U.S.C. Section 3161-3174 (Speedy Trial Act), and
 4   authorizes his attorney to set times and delays under that Act without
 5   defendant being present.
 6
 7   Dated: April 13, 2008
 8
                                         /s/ Christopher Haydn-Myer
 9                                       CHRISTOPHER HAYDN-MYER
                                         Attorney for Defendant
10                                       JEREMY MICHAEL HEAD
11
     DATED: April 14, 2008            I consent to the above waiver of
12                                    presence.
13
                                      /s/ Jeremy Michael Head
14                                    JEREMY MICHAEL HEAD
                                      [Original signature on file.]
15
16
17    DATED: April 15, 2008
18
19        I approve the above waiver of presence.
20
21
22
                                         ________________________________
23                                       FRANK C. DAMRELL, Jr.
                                         United States District Court Judge
24
25
26
27
28                                           2
